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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                           Abingdon Division

JAMES WOOD,                                        )
    Plaintiff,                                     )
                                                   )
v.                                                 )     Case No. 1:22cv00018
                                                   )
BRISTOL VIRGINIA UTILITY                           )
AUTHORITY,                                         )
    Defendant.                                     )


                                       ORDER
      This matter came before the court on Plaintiff’s Unopposed Motion For
Extension of Time in Which to File Response, (Docket Item No. 9) (“Motion”), to
Defendant’s two Motions to Dismiss.               As defendant has no objection to the
extension, and for good cause shown, it is hereby ORDERED that the Motion is
GRANTED, and it is further ORDERED that plaintiff shall have an extension until
and including July 29, 2022, to file responses to the Motions to Dismiss, (Docket
Item Nos. 5, 7). The defendant shall file any reply memoranda by August 12, 2022.
The Clerk is directed to submit a certified electronic copy of this Order to all counsel
of record via the Court’s CM/ECF filing system.
      ENTERED: This 13th day of July, 2022.


                                        /s/   Pamela Meade Sargent
                                        UNITED STATES MAGISTRATE JUDGE




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